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11     Attorneys for Plaintiff
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13                         UNITED STATES DISTRICT COURT
14                       SOUTHERN DISTRICT OF CALIFORNIA
15

16
       KRISTEN JAVIS,                               Case No.: 3:24-cv-02137-L-KSC
17

18
                    Plaintiff,                      NOTICE OF VOLUNTARY
                                                    DISMISSAL PURSUANT TO FED.
19     vs.                                          R. CIV. P. 41(a)(1)(A)(i)
20
       CUSO FINANCIAL SERVICES, LP, Judge: M. James Lorenz
21

22                  Defendant                       Complaint Filed: November 14, 2024
                                                    Trial Date: None Set
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                   NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41
     Case 3:24-cv-02137-L-KSC     Document 13       Filed 01/27/25   PageID.71    Page 2 of 2



1            COMES NOW, Plaintiff Kristen Javis, (“Plaintiff”), by and through
2
       counsel, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
3

4      and hereby notifies the Court of the voluntary dismissal of her claims against
5
       Defendant CUSO Financial Services, LP (“Defendant”) in Case Number 3:24-
6

7
       cv-02137, without prejudice, with each party to bear their own fees and costs.

8      Defendant has not served either an answer or a motion for summary judgment.
9
       Dismissal is therefore appropriate.
10

11
       Dated: January 21, 2025
12
                                              POULIN | WILLEY | ANASTOPOULO,
13                                            LLC
14

15                                            By: /s/John Bohren
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